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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND

 STATE OF RHODE ISLAND; STATE OF
 NEW YORK; STATE OF HAWAI‘I; STATE
 OF ARIZONA; STATE OF CALIFORNIA;
 STATE OF COLORADO; STATE OF
 CONNECTICUT; STATE OF DELAWARE;
 STATE OF ILLINOIS; STATE OF MAINE;                    Case No.: 1:25-cv-128
 STATE OF MARYLAND;
 COMMONWEALTH OF MASSACHUSETTS;
 PEOPLE OF THE STATE OF MICHIGAN;
 STATE OF MINNESOTA; STATE OF
 NEVADA; STATE OF NEW JERSEY; STATE
 OF NEW MEXICO; STATE OF OREGON;
 STATE OF VERMONT; STATE OF
 WASHINGTON; STATE OF WISCONSIN;

       Plaintiffs,

       v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; INSTITUTE OF
 MUSEUM AND LIBRARY SERVICES;
 KEITH E. SONDERLING, in his official
 capacity as Acting Director of the Institute of
 Museum and Library Services; MINORITY
 BUSINESS AND DEVELOPMENT AGENCY;
 MADIHA D. LATIF, in her official capacity as
 Deputy Under Secretary of Commerce for
 Minority Business Development; HOWARD
 LUTNICK, in his official capacity as Secretary
 of Commerce; FEDERAL MEDIATION AND
 CONCILIATION SERVICE; GREGORY
 GOLDSTEIN, in his official capacity as Acting
 Director of the Federal Mediation and
 Conciliation Service; OFFICE OF
 MANAGEMENT AND BUDGET; RUSSELL
 T. VOUGHT, in his official capacity as Director
 of the Office of Management and Budget;

       Defendants.




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                                           STIPULATION

       NOW COME the Plaintiffs and the Defendants in the above-captioned action (collectively

 the “Parties”) and hereby agree, stipulate, and propose to the Court for its approval the following:

   1. The Defendants shall file the administrative record for this case on or before August 1,

       2025;

   2. The Plaintiffs shall file any motion for summary judgment on or before August 22, 2025;

   3. The Defendants shall file any response to Plaintiffs’ motion for summary judgment, as well

       as any cross-motion for summary judgment, on or before September 12, 2025;

   4. The Plaintiffs shall file any reply to Defendants’ response to Plaintiffs’ motion for

       summary judgment, as well as any response to cross-motion for summary judgment, on or

       before September 26, 2025;

   5. The Defendants shall file any reply to Plaintiff’s response to cross-motion for summary

       judgment on or before October 10, 2025; and

   6. The Defendants may defer responding to the Amended Complaint (ECF 68) until after the

       Court’s ruling on the summary judgment motion(s), to the extent a response is necessary.

Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that on this 15th day of July, 2025, I electronically

filed and served the within document through the ECF filing system. The document is available

for viewing and/or downloading from the ECF System.

                                                               /s/ Natalya A. Buckler




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